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 UNITED STATES DISTRICT COURT                                             1/26/2022
 SOUTHERN DISTRICT OF NEW YORK

 ---------------------------------------x
                                        :
 UNITED STATES OF AMERICA               :
                                        :
              -against-                 :                        ORDER
                                        :
                                        :
  Micheal Pearse                        :
                                        :                     15 Cr. 616-4
                                        :                       Docket #
 ---------------------------------------x




   Analisa Torres                , DISTRICT JUDGE:
         Judge's Name


 The C.J.A. attorney assigned to receive cases on this day,

  Florian Miedel                       is hereby ordered to assume

 representation of the defendant in the above captioned

 matter, NUNC-PRO-TUNC January 26, 2022        .




SO ORDERED.

Dated: January 26, 2022
       New York, New York
